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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


 RANATA FRANK, etc., et al.,             )
                                         )
        Plaintiff,                       ) Case No. 4:20-cv-597
                                         )
 v.                                      )
                                         )
 CITY OF ST. LOUIS,                      )
                                         )
        Defendant.                       )


      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND IN
              OPPOSITION TO INJUNCTIVE RELIEF

        Plaintiff brings a purported class action seeking to enjoin the alleged

 removal of a class of homeless persons from a public park and, further, to

 enjoin any arrests or criminal prosecutions on the basis of valid City

 ordinances regulating all persons' use of public parks. Defendant submits

 that the complaint should be dismissed and that injunctive relief should be

 denied.

        For purposes of this motion, the well-pleaded factual allegations of

 the complaint must be accepted as true, although defendant City anticipates

 being able to controvert the allegations relating to the unavailability of

 shelter space for the purported class located in public parks in the vicinity of

 Fourteenth and Market Streets. The City expects has filed affidavits
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 demonstrating that plaintiff has shelter and COVID-19 testing immediately

 available to her, thereby refuting any standing she might otherwise have to

 seek injunctive relief. The City also will demonstrate that, if any person

 now at the park in question is willing, the City will make testing and

 individual shelter accommodations available immediately. See ECF 13 and

 attachments.

           Regardless, the complaint fails to state a plausible claim for injunctive

 relief.

           The facts alleged show that a group of homeless persons has seized a

 public park and turned it into an encampment during the existing public

 health crisis created by the COVID-19 pandemic. The complaint shows on

 its face that City ordinances preclude camping, and particularly overnight

 camping, in public parks. The complaint shows that plaintiff and members

 of her purported class have been given ample notice of the illegality of their

 conduct.

           The complaint avers that the City's efforts to deal with homelessness

 within its boundaries are insufficient, but the complaint shows on its face

 that such efforts have been undertaken and are being undertaken by

 responsible City officials, who are charged in the first instance with

 managing this difficult social problem.

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       The City is now undertaking a limited, focused effort to remove the

 ad hoc encampment of allegedly homeless persons from the public park.

 The complaint alleges that putative class members have been threatened

 with arrest and prosecution, but does not disclose that any arrests have been

 or are in fact about to be made; nor does the complaint allege that the City

 has threatened to arrest the individual class representative herself.

       1.     Plaintiffs lack standing to seek relief on their novel Eighth

 Amendment theory.

       It is elementary that a plaintiff seeking equitable relief in federal court

 must have standing. E.g., City of Los Angeles v. Lyons, 461 U.S. 95 (1983).

 Outside the First Amendment context, hypothetical claims of future

 irreparable injury are insufficient. E.g., Smook v. Minnehaha County, 457

 F.3d 806 (8th Cir. 2006). Particularly when the claim is premised on

 threatened enforcement of facially constitutional laws, federal courts should

 not readily entertain claims for injunctive relief. E.g., Cameron v. Johnson,

 390 U.S. 611 (1968).

       Here, plaintiff's claim based on the Eighth Amendment is entirely

 hypothetical. First, she has not herself been threatened with arrest or

 prosecution. Second, the complaint does not show that, in fact, she will

 necessarily remain homeless in the future. While homelessness is not a

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 purely voluntary condition, it may be remedied in a variety of ways by

 individual action, intervention of charitable enterprises (as the complaint

 suggests), and by government action. To be sure, the complaint alleges that

 plaintiff has sought housing assistance from defendant City and has received

 no response, but that is far asserting that defendant City cannot and will not

 provide such assistance in the future.1

        Further, the complaint fails to show that the relief sought will redress

 the purported constitutional violation. On the contrary, the requested relief

 is tantamount to transferring title to a public park to a class of allegedly

 homeless persons until the City provides shelter deemed adequate by them.

 How this relief will remedy the alleged lack of shelter for the purported class

 of persons now occupying the park land from Tucker along Market to

 Eighteenth Street is not explained.

        In sum, plaintiff's complaint does not present the Court with a

 justiciable controversy. Their request to have this Court intervene in the

 management of both a public health crisis and a protracted social problem is

 beyond this Court's equitable jurisdiction. See Steel Co. v. Citizens for a

 Better Environment, 523 U.S. 3 (1998); Hunt v. City of Huntsville, 30 F.3d


 1 The City, in opposition to the motion for temporary restraining order, avers that
 plaintiff can be placed in shelter forthwith. Affidavit of Dr. Echols. Such evidence
 extrinsic to the complaint can be considered by the Court under Rule 12(b)(1).
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 1332 (5th Cir. 1994); Johnson v. City of Dallas, 61 F.3d 442 (5th Cir.

 1995)(rejecting standing of homeless persons to seek injunction barring

 enforcement of ordinance regarding sleeping in public); Shipp v. Schaaf, 379

 F.Supp.3d 1033 (N.D.Cal. 2019)(denying preliminary injunction to bar

 removal of tent encampments from public property).

       2.     Plaintiff's novel Eighth Amendment theory has not been

 accepted in this Circuit, is contrary to binding Supreme Court

 precedent, and is not a cognizable claim under 42 U.S.C. §1983.

       Plaintiff seeks to have this Court follow in the footsteps of the Ninth

 Circuit in expanding the Eighth Amendment's very narrow limitation on

 state legislative authority to define and punish offenses beyond all

 recognizable bounds. See Martin v. City of Boise, 920 F.3d 584 (9th Cir.

 2019). The Martin case holds, in substance, that a federal court can enjoin

 prosecution of homeless persons for a variety of offenses, including illegal

 occupation of public areas, because such offenses effectively criminalize the

 status of homelessness. That holding was the subject of vigorous dissent on

 denial of rehearing.

       The Martin decision is directly contrary to the Supreme Court's

 decision in Powell v. Texas, 392 U.S. 514 (1968), and should not be

 followed by this Court. On the contrary, this Court should follow Joel v.

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 City of Orlando, 232 F.3d 1353 (11th Cir. 2000). In Joel, the 11th Circuit

 expressly refused to follow the Eighth Amendment reasoning of some

 district court cases that preceded Martin. Admittedly, the 11th Circuit

 alluded to a record showing that, in fact, shelter was available to the

 homeless plaintiffs. However, that was not the critical factor in the 11th

 Circuit's refusal to extend the reasoning of Robinson v. California, 370 U.S.

 660 (1962). The 11th Circuit stated:

       [The "camping" ordinance at issue] targets conduct, and does not
       provide criminal punishment based on a person's status. See Powell v.
       Texas, 392 U.S. 514, 532, 88 S. Ct. 2145, 2154, 20 L. Ed. 2d 1254
       (1968) (plurality opinion) (state statute punishing public intoxication
       is constitutionally permissible because it punishes an act, "being in
       public while drunk on a particular occasion," not a status, "being a
       chronic alcoholic."); cf. Joyce, 846 F. Supp. at 856-58 (homelessness
       is not a "status" within the meaning of the Eighth Amendment). We
       hold that it does not violate the Eighth Amendment.

       The City's ordinances precluding plaintiff's occupation of park land

 indefinitely as her temporary residence are enforceable. Notwithstanding

 the sarcastic dictum of Anatole France, the address conduct, not status. As

 in Joel, the City here is undertaking vigorous efforts to protect and shelter

 plaintiff and her fellow campers, but there is no viable federal right of

 plaintiff that is subject to deprivation by the City.

                                    Conclusion




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       For the foregoing reasons, the motion for temporary restraining order

 should be denied, and the complaint herein should be dismissed.



                                Respectfully submitted,

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